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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

United States of America,                            )
                                                     )
       Plaintiff,                                    ) Case No. 3:08CR30071-001-DRH
                                                     )
       v.                                            )
                                                     )
Justin L. Buckner,                                   )
                                                     )
       Defendant,                                    )
                                                     )
===================================                  )
Jackson County Circuit Clerk,                        )
                                                     )
       Garnishee.                                    )

                                       GARNISHEE ORDER


               A Writ of Garnishment, directed to Garnishee, has been duly issued and served

upon the Garnishee. Pursuant to the Writ of Garnishment, the Garnishee filed an Answer on

March 25, 2010, (Doc 126) stating that at the time of the service of the Writ he had in his

possession or under his control personal property belonging to and due Defendant and has

tendered said property to the Clerk.

               On April 2, 2010, the Defendant was notified of his right to a hearing and has not

requested a hearing to determine exempt property.

               IT IS ORDERED that the amount Garnishee has paid be applied to the

outstanding debt.

               The Plaintiff is to provide a copy of this Order to the Garnishee.



       Dated: May 14, 2010.                                  /s/   DavidRHer|do|
                                                            DAVID R. HERNDON
                                                     Chief Judge, U.S. District Court
